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 5   Attorney for Debtor, Brugnara Properties VI,
 6

 7

 8
                              UNITED STATES BANKRUPTCY COURT
 9
                              NORTHERN DISTRICT OF CALIFORNIA
10

11

12   In re                                           ) Case No.: 17-30501 DM
                                                     )
13   BRUGNARA PROPERTIES VI,                         ) Chapter 11
                                                     )
14                                                   )
                          Debtor.
                                                     )
15                                                   )
                                                     )
16                                                   )
                                                     )
17

18                           DEBTOR’S DISCLOSURE STATEMENT
                                  Dated September 20, 2017
19

20           This Disclosure Statement is furnished pursuant to Bankruptcy Code Sections 1121

21   through 1129. Creditors who wish to vote on the proposed plan should review this Disclosure

22   Statement and Plan of Reorganization, complete the ballot furnished herewith, and return the

23   ballot to Ruth Elin Auerbach, Attorney at Law, 77 Van Ness Avenue, Suite 201, San Francisco,

24   CA 94102, telephone number (415) 673-0560; facsimile number (415) 673-0562; e-mail

25   attorneyruth@sbcglobal.net, on or before the date set forth in the Order Approving Disclosure

26   Statement enclosed herewith. The Plan will be confirmed so long as each of the requirements

     of Section 1129 has been met, to-wit:


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 1

 2

 3          A class of creditors will be deemed to have accepted the Plan if the plan is accepted by
 4   creditors that hold at least two-thirds in amount and one-half in number of the allowed claims of

 5   such class held by creditors.

 6          THE DEBTOR URGES YOU TO READ THIS DISCLOSURE STATEMENT AND

 7   PLAN CAREFULLY.

 8                I.      RULES OF CONSTRUCTION, INTERPRETATION AND TIME

 9          In the event of any inconsistency between this Plan and the Disclosure Statement, the

10
     provisions of the Plan, and any Order Confirming the Plan are controlling. The rules of
     construction set forth in Section 102 of the Bankruptcy Code shall apply to the Plan and
11
     Disclosure Statement. In computing any period of time prescribed or allowed by the Plan, the
12
     provisions of Rule 9006(a) of the Federal Rules of Bankruptcy Procedure shall apply.
13
                                        II.      APPLICABLE LAW
14
            Except to the extent that Federal Law applies or the Plan specifically provides
15
     otherwise, the effect, implementation and enforcement of this Plan shall be governed by
16
     California Law.
17
                                          III.    BACKGROUND
18

19
             The Debtor is the owner of real property commonly described as 224 Sea Cliff Avenue,
20
     San Francisco, California (“The Property”). The property was acquired by the Debtor in 2002.
21
     The property was acquired with a loan from Vestin taken out by the Debtor. Vestin was
22

23
     refinanced out with a 1st TD loan from World Savings Bank (acquired by Wachovia Bank

24   whom was acquired by Wells Fargo Bank). The Property is a single family residence and is the

25   home of the Debtor’s Principal, Kay Brugnara and her family.

26




     DEBTOR’S DISCLOSURE STATEMENT               - 2
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 1           The Debtor acquired the property in 2002 for $8,000,000 and invested approximately
 2
     $2,000,000 in capital improvements. The Property was appraised in 2016 at a value of
 3
     $21,000,000. The Debtor believes that the value of the property has increased since that
 4
     appraisal and is now worth at least $25,000,000.
 5
             The Debtor has successfully operated and managed the Property through cultivating its
 6

 7
     rapidly appreciating value. The property has more than doubled in value since its purchase, and

 8   the value is expected to increase in a similar manner over the next decade due to its extremely

 9   desirable and rare location. The Property is an oceanfront cliff house with a private beach and a

10   cove (the only private beach/cove in San Francisco) with a direct view of the Golden Gate
11
     Bridge. There are only seven homes on the cliff and they range in value from $25,000,000 to
12
     $40,000,000.
13
             The secured debts against the Debtor total approximately $10,000,000, well below a
14
     50% debt load. The Property has never generated a cash flow, a fact known to secured creditors
15

16
     at the time they made the loans. The Debtor has functioned efficiently for 17 years covering its

17   operating expenses with cash infusions from its officers and refinancing the property.

18           Most recently, the Debtor paid off in full its prior subordinate lenders in 2012 and
19   2013. The lenders were paid off in full from cash infusions from the President of the Debtor
20
     who received the cash from the sale of fine art.
21
             Kay Brugnara has been President of the Debtor since 2010 and has arranged for the
22
     prior subordinate lenders to be paid as promised. The Debtor was required to file this Chapter
23
     11 case because of promises and contracts breached by its two subordinate lenders, PSG and
24

25   Dakota Note. Additionally Dakota Note violated its promises in written declarations filed with

26   this Court to fund certain money to the Debtor which they did not do as promised. The Debtor




     DEBTOR’S DISCLOSURE STATEMENT               - 3
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 1   is pursuing litigation against the lenders for their breaches, to stop the illegal foreclosure and
 2
     protect its $20M of equity. Kay Brugnara has fulfilled all promises to this Court in past
 3
     proceedings, always paying off the subordinate lenders as promised as a condition of the
 4
     dismissal(s). It was lender Dakota Note’s failure to keep the promises made in its declarations
 5
     to this Court that it would fund nearly $1M to the Debtor, together with the failure on the part of
 6

 7
     PSG Capital to fund the loan it had approved and promised to the Debtor that caused the

 8   necessity of this Chapter 11 filing.

 9                                     IV. SUMMARY OF THE PLAN

10             This summary describes the Plan of Reorganization of the Debtor. Creditors should

11    refer to the Plan itself for specific terms and conditions.

12             A. DEBTOR’S LIABILITIES

13   1. Expenses of Administration:

14             The Debtor estimates that the expenses of administration for this Chapter 11 case will

15
     total about $45,000 for attorneys’ fees and expenses.
               The Debtor does not believe that there are any other administrative expenses which will
16
     be due.
17
     2. Pre-Petition Priority Tax Debt:
18
               The debtor has no pre-petition priority tax debts.
19

20
     3. Secured Claims: The following constitute liens against the Property:
21

22
         a. Wells Fargo Bank: Wells Fargo Bank (“WFB”) has a first position deed of trust on the
23      Debtor’s real property located at 224 Sea Cliff Avenue, San Francisco, CA (“The Debtor’s
        Real Property”), in the amount of $5,917,486.26;
24
         b. Dakota Note, LLC: Dakota Note, LLC (“Dakota”) has a second priority deed of trust
25
        on the Debtor’s real property in the amount of $2,400,000. Debtor disputes the validity of
26      the Dakota liens as detailed in the adversarial motion/lawsuit;




     DEBTOR’S DISCLOSURE STATEMENT                 - 4
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 1           c. Dakota Note, LLC: Dakota also has a third priority deed of trust against the Debtor’s
             real property in the amount of $1,200,000; Debtor disputes the validity of the Dakota
 2
             liens as detailed in the adversarial motion/lawsuit;
 3

 4
             d. PSG Capital Partners, Inc.: PSG Capital Partners, Inc. (“PSG”) has a fourth priority
             deed of trust on the Debtor’s real property in the amount of $1,500,000; this lien is
 5           disputed by the Debtor as detailed in the adversarial proceeding/lawsuit;

 6           e. California Home Loans: California Home Loans (“CHL”) has a fifth priority deed of
             trust on the Debtor’s real property in the amount of $315,000; CHL’s 5th deed of trust is
 7           disputed in its entirety (i.e., does NOT “have” a deed of trust) as no pecuniary benefit was
             received by the Debtor;
 8

 9           f. Franchise Tax Board: The Franchise Tax Board (“FTB”) has a Nominee Lien against
             the Debtor’s property in the approximate amount of $6,200,000 for taxes allegedly owed
10           by the Debtor’s principal’s husband Luke Brugnara. This amount was based on an
             erroneous IRS assessment of $45,000,000. That amount was reduced in Federal District
11           Court by Judge William Alsup on June 1, 2010 (cr:08-0222WHA) to $300,000 and thus
             the amount of taxes actually owed by Luke Brugnara to the State should be around
12
             $16,000. The Debtor disputes the validity of this lien.
13

14
             g. Internal Revenue Service: The Internal Revenue Service (“IRS”) has a Nominee Lien
15           against the Debtor’s property in the approximate amount of $1,200,000 for income taxes
             allegedly owed by the Debtor’s husband Luke Brugnara. The actual amount of the tax
16           liability is $300,000; the remainder represents interest and penalties. The Debtor disputes
             the validity of this lien.
17
     4. Unsecured Claims: The unsecured claims total $4,500.
18

19
              B. TREATMENT OF CLAIMS
20
         Class 1 - Secured Claim of Wells Fargo Bank: The Debtor will make the payments due to
21
     WFB pursuant to the terms of its Note and Deed of Trust. Class 1 is not impaired under this
22

23
     Plan.

24

25       Class 2 – Secured Claim of Dakota Note 2nd: Class 2 is impaired. The Maturity Date of
26   this loan will be extended until May 31, 2022. Interest will accrue at the rate of prime plus one



     DEBTOR’S DISCLOSURE STATEMENT                 - 5
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 1   percent per annum (4% as of the date of this Plan); until the Maturity Date as per the existing
 2
     terms of these loan documents (i.e., “No payments of principal or interest shall be made until
 3
     the Maturity Date.). This is to reiterate that NO payments of debt were ever required under
 4
     these two loans by the Debtor.
 5

 6

 7
         Class 3 – Secured Claim of Dakota Note 3rd: Class 3 is impaired. The Maturity Date of

 8   this loan will be extended until May 31, 2022. Interest will accrue at the rate of Prime plus one

 9   percent per annum (4% as of the Date of this Plan); until the Maturity Date as per the existing

10   terms of these loan documents (i.e., “No payments of principal or interest shall be made until
11
     the Maturity Date.). This is to reiterate that NO payments of debt were ever required under
12
     these two loans by the Debtor.
13

14
         Class 4 – Secured Claim of PSG Capital Partners: Class 4 is impaired. The Maturity Date
15

16
     of this loan will be extended until May 31 2022. Interest will accrue at the rate of prime plus

17   one percent per annum (4% as of the date of the Plan); until the Maturity Date as per the

18   existing terms of these loan documents (i.e., “No payments of principal or interest shall be made
19   until the Maturity Date.). This is to reiterate that NO payments of debt were ever required under
20
     this loan by the Debtor.
21

22
         Class 5 – Secured Claim of California Home Loans: Class 5 is impaired. The Maturity
23
     Date of this loan will be extended until May 31, 2022. Interest will accrue at the rate of prime
24

25   plus one percent per annum (4% as of the date of the Plan); until the Maturity Date as per the

26   existing terms of these loan documents (i.e., “No payments of principal or interest shall be made




     DEBTOR’S DISCLOSURE STATEMENT               - 6
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 1   until the Maturity Date.). This is to reiterate that NO payments of debt were ever required under
 2
     this loan by the Debtor.
 3

 4
         Class 6 – Secured Claim of Franchise Tax Board: Class 6 is impaired. The Debtor will file
 5
     an adversary proceeding to seeking a determination that the lien is invalid as to the Debtor. The
 6

 7
     Debtor further asserts that the amount of the claim is incorrect, as it was based upon an IRS

 8   claim that $45M was due. That amount of the IRS tax debt was reduced by the Federal Court to

 9   $300,000 and therefore the State Taxes owing by Luke Brugnara individually, which cover the

10   same period as the IRS claim, should be similarly reduced to approximately $16,000. If the
11
     Bankruptcy Court upholds the Lien, the allowed secured claim will be paid in full by May 31,
12
     2022
13

14
         Class 7 – Secured Claim of Internal Revenue Service: Class 7 is impaired. The Debtor
15

16
     will file an adversary proceeding to determine the validity and amount of any IRS lien, as the

17   Debtor does not believe that the IRS can show the elements necessary for a nominee lien to be

18   placed against this property. If the Lien is determined to be valid, the claim will be paid in full
19   by May 31, 2022.
20

21
         Class 8 - Unsecured Claims: Class 8 is impaired. The Debtor’s unsecured claims total
22
     $4500.00. Those claims would be paid in full within 60 days of the Effective Date of the Plan
23
     through a cash infusion from the Debtor’s principal.
24

25

26




     DEBTOR’S DISCLOSURE STATEMENT               - 7
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 1                                 V. RETENTION OF OWNERSHIP
 2          KAY BRUGNARA will retain her ownership interest in the business. No dividends
 3   shall be paid to any owner until all payments to be made to non-insider creditors under this Plan
 4   have been completed.

 5                               VI. TAX CONSEQUENCES OF PLAN

 6          Creditors should confer with their specific tax advisors regarding the specific

 7   consequences of this Plan to that Creditor. There may be tax liability incurred in cases where

 8   creditors have received tax benefits for bad-debt write-offs related to the obligations being paid

 9   under this Plan.

10
                                     VII.    LIQUIDATION ANALYSIS
                        COMPARISON OF PLAN WITH CHAPTER 7 TREATMENT
11
            If the Debtor is unable to confirm a Plan, then this Chapter 11 case would likely be
12
      either dismissed or converted to a Chapter 7 liquidation. In the latter event, a Trustee in
13
      Bankruptcy would be appointed to administer the estate and liquidate the assets of the Debtor.
14
      If the property were sold, there would be significant Capital Gains taxes in the approximate
15
      amount of between $6,000,000 to $8,000,000. This would be highly prejudicial to BPVI as it
16
      would consume most of the equity of BPVI. Moreover, this is the ONLY asset of BPVI, and
17
      BPVI, a mature 17 year old corporate entity, would be forced to no longer exist. The
18
      remaining liquidation proceeds would be utilized to pay the secured creditors, the expenses of
19
      administration of the Chapter 7 case (trustee fees and expenses and fees and expense for the
20
      trustee’s professionals), the expenses of administration of the superseded Chapter 11 case, and
21
      any priority claims which may exist. Whether there are sufficient funds to pay all creditors
22
      would depend on to what extent the tax liens are determined to be proper nominee liens against
23
      the Property. If the liens are determined to be proper nominee liens, after payment of capital
24    gains taxes and costs of sale, there would likely be no money left to pay unsecured claims.
25

26




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 1                                           VI.     FEASIBILITY
 2         The Debtor’s property is worth in excess of $25,000,000, while liens against it total less
 3   than $10,000,000 exclusive of the nominee liens, leaving an equity cushion of at least 50%.
 4          The taxing authorities’ nominee liens against this property should be avoided. The

 5   Debtor is a corporation duly organized and existing under California law. The property was

 6   purchased by the corporation with funds borrowed by the Debtor. The property was never

 7   owned by the Brugnaras individually. All loans that have been repaid were repaid by the

 8   corporation. The Superior Court of California in an action involving a claim of alter ego by a

 9   creditor of the Brugnaras held that the corporation was not an alter ego of the Brugnaras (a copy

10
     of the Court’s ruling is attached hereto as Exhibit “1”).
           The source of the funds to repay the secured claims will come from either a refinance of
11
     the property or from cash infusion from the owner’s family members, including the sale of fine
12
     art by the owner’s son, Luke Brugnara II, but also from cash infusion by the owner’s husband,
13
     Luke Brugnara, who has been successfully raising capital for all Brugnara Property entities for
14
     the past 25 years. In Mr. Brugnara’s Federal Court tax case, WHA-0222, the IRS testified that
15
     Luke Brugnara made between $1M and $103M per year over the past 20 years. When Mr.
16
     Brugnara returned from La Tuna prison in 2012 he arranged for the payoff of an $11M second
17
     trust deed on Sea Cliff from PEM Group, and also successfully paid off that loan in 2013.
18
     Mr. Brugnara is scheduled to be released from his current incarceration within the next year,
19
     and will be able to raise the money needed to make the payments required under this Plan. Luke
20
     Brugnara will be able to refinance the existing to the subordinate lenders as he has done
21
     successfully on much greater subordinate debt on Sea Cliff for over 15 years. Luke Brugnara
22
     has borrowed over $1.3 Billion from his private lenders which loans have been repaid.
23
            Each of the subordinate loans against the Property were from the beginning equity-
24   based, with no monthly debt service payments due. The Plan proposes the same treatment. The
25   creditors are not losing any ground, as the property is appreciating faster than the interest is
26   accruing. The property was purchased in 2002 for $8,000,000. In 2010 it was appraised at



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 1   $14,000,000, in 2014 it was appraised at $16,500,000 and 2016 it was appraised at
 2   $20,000,000-$21,000,000 (See Appraisal Report, attached hereto as Exhibit “2”). The property
 3   has been appreciating at the rate of at least $2,000,000/year. The interest accruing on all notes
 4   combined is less than $1,000,000, and therefore the protective equity securing the subordinate

 5   debt is actually increasing by over $1,000,000/year.

 6

 7                                    VII. CREDITOR’S REMEDIES

 8          Should the Debtor fail to comply with the terms of this Plan, creditors shall have all their

 9   rights and remedies as provided by the Bankruptcy Code, including, but not limited to, the filing

10
     of a motion for conversion of the case to Chapter 7 or the appointment of a Trustee. Secured
     creditors would be able to seek relief from the Court to permit foreclosure of their collateral.
11
                                            IX. CONCLUSION
12
            The Debtor respectfully requests that the Creditors give favorable consideration to the
13
     Debtor’s Plan of Reorganization.
14
     Dated: September 20, 2017                              BRUGNARA PROPERTIES VI
15

16                                                          By:_/s/ Kay Brugnara_______________
                                                            KAY BRUGNARA, President
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